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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

UNITED STATES OF AMERICA,                                     )
                                                              )
                          Plaintiff,                          )        No. 19 CR 567
                                                              )
-vs-                                                          )
                                                              )        Hon. Harry D. Leinenweber
                                                              )
ROBERT SYLVESTER KELLY, also known                            )
As “R.Kelly,” DERREL MCDAVID, and                             )
MILTON BROWN, also known as “June                             )
Brown.”                                                       )
                                                              )
                          Defendants.                         )

    DEFENDANT KELLY’S MOTION TO EXCUSE FOR CAUSE POTENTIAL JURORS
    WHO HAVE SEEN ANY PORTION OF THE DOCUSERIES SURVIVING R. KELLY

        NOW COMES, ROBERT S. KELLY, Defendant, by and through his counsel Jennifer

Bonjean and respectfully files this motion to excuse all potential jurors who have watched any

portion of the docuseries Surviving R. Kelly1 where the docuseries: (1) explores the exact

allegations that underscore this indictment, including Kelly’s 2008 prosecution for child

pornography of Minor 1; (2) includes extensive interviews with several individuals expected to

testify at this trial; and (3) contains numerous allegations of other misconduct that is not and will

not be introduced during this trial. Any potential juror who has watched any portion of this

docuseries must be disqualified for cause, irrespective of whether he/she believes he/she can be

fair, where too great a risk exists that such a juror would base his/her verdict on matters not

introduced into evidence in the courtroom.




1
 For the purpose of this motion, Kelly seeks to incorporate the Surviving R. Kelly docuseries which can be streamed
on Netflix https://www.netflix.com/title/81069393
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       1.      Surviving R. Kelly is a Lifetime documentary detailing sexual abuse allegations by

numerous women against the Defendant. It aired in January 2019 and was Lifetime’s highest-

rated program in two years. In January 2020, a second season premiered on Lifetime titled

Surviving R. Kelly II: The Reckoning. Surviving R. Kelly is largely credited as the impetus for

the wave of criminal charges that followed its premiere.

       2.      The docuseries devotes significant attention, indeed entire episodes to the subject

matter of this trial. For example, Episode Three is titled “Sex Tape Scandal” which explores the

sex tape that was the subject of Kelly’s 2008 prosecution. Relatedly, Episode Four is titled “The

People v. R. Kelly” which addresses the 2008 prosecution and allegations related to the first

eight counts of this superseding indictment.

       3.      Indeed, the docuseries contains extensive interviews with some of the

government’s witnesses in this case, including Lisa Van Allen and Jerhonda Pace. Other

individuals who appear in the docuseries are identified as potential witnesses in this matter

including Stephanie “Sparkle” Edwards and Andrea Kelly. There is substantial overlap between

the subject matter of this prosecution and the subject matter of the documentary.

       4.      Furthermore, Surviving R. Kelly contains hours of interviews with individuals

who share a litany of other allegations of sexual misconduct against Kelly, including some

allegations that the government has already conceded it will not introduce at trial. Just by way of

example, the docuseries discusses allegations against Kelly in connection with his relationship

with Aaliyah when she was underage. In response to Kelly’s motion in limine, the government

has already conceded that it will not introduce evidence related to allegations surrounding

Kelly’s relationship with Aaliyah. This Court acknowledged the government’s concession,

finding Kelly’s motion moot in light of the government’s position on this issue. Any juror who
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watched the docuseries would be privy to such information that has already been excluded at this

trial.

         5.     In light of the foregoing, there is no scenario under which any individual who

watched Surviving R. Kelly could be qualified as a juror in this case whether the person admits it

or not. Any person who has seen the documentary would possess information about the

allegations in this indictment (and unrelated allegations) that would unquestionably interfere

with his/her ability to decide the case based on the evidence that is introduced at trial. No one,

even a well-intentioned person, would be capable of purging his brain of information obtained

through the docuseries or separating information learned from the documentary that was never

subject to cross-examination from testimony introduced at trial on the same subject matter.

         6.     The Sixth Amendment provides that, “[i]n all criminal prosecutions, the accused

shall enjoy the right to a . . . trial, by an impartial jury.” U.S. Const. Amend. VI. “One touchstone

of a fair trial is an impartial trier of fact – ‘a jury capable and willing to decide the case solely on

the evidence before it.” McDonough Power Equip. v. Greenwood, 464 U.S. 548, 554 (1984). A

juror is not impartial if his experiences, opinions, predispositions, biases, prejudices, interests, or

relationships “would ‘prevent or substantially impair the performance of his duties as a juror in

accordance with his instructions and his oath.’” Wainwright v. Witt, 469 U.S. 412, 424 (1985).

         7.     Not only must potential jurors with actual bias be excused for cause, but courts

have found that “when circumstances create too great a risk of affecting a juror’s decision-

making process, even if the juror is not, consciously, fully aware of the impact,” a juror must be

excused. Crawford v. United States, 212 U.S. 183, 196 (1909) (holding that the law says that,

with regard to some of the relations which may exist between the juror and one of the parties,

bias is implied, and evidence of its actual existence need not be given). See also Smith v.
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Phillips, 455 U.S. 209, 221 (1982) (O’Connor, J., concurring) (“determining whether a juror is

biased or has prejudged a case is difficult, partly because the juror may have an interest in

concealing his own bias and partly because the juror may be unaware of it.”); see also Hunley v.

Godinez, 975 F. 2d 316 (7th Cir 1992) (recognizing presumed bias in “extreme” situations

where, for example, the prospective juror is connected to the litigation in such a way that is

highly unlikely that he or she could act impartially during deliberations.)

       8.      This type of bias is called implied or presumed bias and is determined as a matter

of law and “attributed to a prospective juror regardless of actual partiality. Jurors are considered

impartial so long as they can “conscientiously and properly carry out their sworn duty to apply

the law to the facts of a particular case.” Ross v. Oklahoma, 476 U.S. 81, 86 (1988). A request to

excuse a juror for cause “must be supported by specific causes or reasons that demonstrate that,

as matter of law, the [juror] is not qualified to serve.” Gray v. Mississippi, 481 U.S. 648, 653, n.

3 (1987). In certain circumstances juror bias will be presumed and the juror must be excluded,

for example, where the juror is related to one of the parties or has a financial interest in the

outcome of the case. United States v. Polichemi, 219 F. 3d 698, 704 (7th Cir. 2000).

       9.      In this case, a potential juror who has seen any portion of Surviving R. Kelly is

actually prejudiced where there is simply no scenario under which an individual exposed to the

contents of Surviving R. Kelly can be impartial. Some potential jurors in this case who have

completed the questionnaires acknowledge as much, but some potential jurors who have seen the

documentary have indicated that they are still capable of being impartial. This representation is

in a word – absurd.

       10.     This case presents one of those rare circumstances where bias must be presumed

by individuals who have seen Surviving R. Kelly, because the viewer has already gained an
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understanding of the specific facts in this case through television interviews with actual

witnesses.2 Even the best-intentioned individual would invariably view a witness’s testimony

from the witness stand through a lens of whatever bias he/she developed after watching that

same individual provide her account during a television interview.

         11.      To be clear, this is not a simple matter of a juror being exposed to negative

pretrial publicity, indeed every prospective juror in this case has probably been exposed to some

negative pretrial publicity about Kelly. Rather, this is an issue of potential jurors possessing a

mountain of information about the specific allegations in this case and the witnesses’ stories that

will play center stage at this trial and may or may not be admissible. Allowing an individual to

sit on this jury who has seen Surviving R. Kelly is no different than allowing a juror to sit on the

jury who was permitted to preview the discovery in this case.

         12.      In the conventional criminal case in which the jury is asked only whether guilt has

been prove beyond a reasonable doubt, “[t]he bias or prejudice of even single juror would violate

[a defendant’s] right to a fair trial.”

         13.      Thus, this Court should excuse for cause all potential jurors who have seen any

portion of Surviving R. Kelly and those potential jurors who have been exposed to pretrial

publicity about this case must be scrutinized and questioned to determine whether they are

capable of serving as an impartial witness.




2
  Just by way of example, the following clip is a portion of extensive interviews from Surviving R. Kelly with one of
the state’s star witnesses Lisa Van Allen. https://www.youtube.com/watch?v=yREP5i3Jhtg It is difficult to imagine
that any juror would be equipped to listen to Van Allen’s trial testimony with an impartial viewpoint and without
allowing prior information received during the documentary shade her assessment of Van Allen’s in-court
testimony. This is precisely the scenario the law prohibits.
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                                                   Respectfully Submitted,



                                                   /S/JENNIFER BONJEAN
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                              CERTIFICATE OF SERVICE

       I, Jennifer Bonjean, filed this Motion to Exclude for Cause All Potential Jurors Who
Have Watched Surviving R. Kelly on August 14, 2022 via ECF. All parties were served with this
response via ECF.

                                                         /s/JENNIFER BONJEAN
